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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA

     IRA KLEIMAN, as the personal                                       CASE NO.: 9:18-cv-80176-BB/BR
     representative of the Estate of David
     Kleiman, and W&K Info Defense
     Research, LLC

               Plaintiffs,

     v.

     CRAIG WRIGHT

               Defendant.

          CORRECTED1 JOINT SUBMISSION IN ADVANCE OF CALENDAR CALL

          In accordance with the Court’s August 27, 2021, status conference order, the parties submit

 a list of issues that they respectfully ask the Court to address during the September 14, 2021,

 calendar call hearing.

                                      I.       TRIAL LOGISTICS

          1.        Covid precautions. During the August 27, 2021, status conference, the Court raised

 questions relating to Covid-19 precautions, which the parties would like to discuss further on

 September 14, 2021. Specifically, the parties have conferred and would like to address (i) the

 vaccination status of counsel, the witnesses, and the jurors and whether that status should be

 disclosed to the jurors and counsel, and (ii) ability at trial for the testifying witness and the

 questioning attorney to wear face shields instead of a mask.

          2.        Jury selection. The parties have additional questions related to the jury selection

 process, including whether the entire 40-person panel of prospective jurors will be brought into the



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  In accordance with the Clerk’s notice at D.E. 683, the parties refile this joint submission using login credentials that
 match the typed name on the signature block.
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 courtroom at the same time and the amount and timing of peremptory strikes. We would also like

 to understand the Court’s procedure for exercising cause challenges and peremptory strikes (e.g.,

 back-striking, strikes from the first 12 or per juror, etc.).

            3.       Travel and trial testimony accommodations. Ramona Ang (a fact witness and

 defendant’s wife) plans to travel from the U.K. to the U.S. for her trial testimony and requests a

 date certain for her testimony to facilitate the necessary international travel plans. Plaintiffs do not

 object to a date certain for her testimony, but object to Ms. Ang being called during their case in

 chief.

            4.       Shabbat observance accommodations. Lead counsel for plaintiffs observes the

 Shabbat and needs to be out of Court no later than 90 minutes before Shabbat begins. Accordingly,

 plaintiffs request that Court adjourn on Fridays at least 90 minutes before Shabbat begins.2

 Defendant has no objection to plaintiffs’ request.

                                      II.      TRIAL PROCEDURE

            5.       Opening statements. The parties would like to know the time permitted for opening

 statements and discuss the use of exhibits during opening statements.

                                      III.     EVIDENTIARY ISSUES

            6.       Demonstrative exhibits. The parties would like the Court to address any objections

 to the other parties’ demonstrative exhibits. The parties intend to meet and confer on the objections

 to their respective demonstratives before the calendar call.

            7.       Dave Kleiman’s electronic devices. Defendant asks the Court to rule on plaintiffs’

 objections to defendant’s exhibits D262 through D276. These exhibits are Dave Kleiman’s physical

 electronic devices.




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     The start of Shabbat for November 5, 12 and 19 is: 6:19 pm, 5:16 pm, and 5:13 pm.
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        8.      Litigation funding. The parties agree and stipulate that neither plaintiffs nor

 defendant will reference or inquire about the funding of the prosecution or the defense of this case

 absent any party putting such issue in play. If any party believes the other has “opened the door” to

 such evidence, that party will seek permission of the Court before introducing it in front of the jury.

        9.      F.R.E 615 as it applies to experts. Plaintiffs invoke Fed. R. Evid. 615 except that

 plaintiffs request that one of its experts, Dr. Matthew Edman, be allowed to attend trial and

 otherwise be advised of the trial proceedings under Fed. R. Evid. 615(a)(3) as his presence is

 essential to the presentation of plaintiffs’ claims. Defendant does not agree with the manner with

 which plaintiffs invoke Fed. R. Evid. 615 and instead believes that it should not apply to the

 parties’ expert witnesses.

        10.     Special set hearing on additional evidentiary issues. In light of the voluminous

 deposition testimony that has been designated, much of which is videotaped testimony that will

 need to be edited following the Court’s rulings on objections, the parties believe a special set

 hearing would be most efficient in streamlining the objections. Additionally, defendant would like

 to address specific objections to certain categories of the plaintiffs’ exhibits that he has objected to

 on the grounds of 401, 403, 404(b), and 608(b).

        11.      Plaintiffs’ expert’s report

        Plaintiffs’ request: Plaintiffs want to supplement the report of their proposed expert Dr.

 Matthew Edman to include additional documents not analyzed or referenced in his original report.

 Dr. Edman’s main focus was to opine on whether certain documents produced by defendant were

 forgeries. But defendant produced over 225,000 documents, and identifying which were forgeries

 required a time consuming analysis of the metadata of each document. Plaintiffs did their best to

 isolate a reasonable subset of those documents for Dr. Edman to review, and he opined that a

 number of defendants’ documents were manipulated. However, upon receipt of defendant’s final
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 exhibit list and demonstrative exhibits, plaintiffs have discovered there are additional documents

 defendant intends to rely on that are forgeries which plaintiffs had not previously discovered.

 Accordingly, plaintiffs requests Dr. Edman be permitted to supplement his prior Report to address

 these additional documents to ensure the jury is not presented with unrebutted forged documents

 from a party who has already been found, by clear and convincing evidence, to have “intentionally

 submitted fraudulent documents to the Court, obstructed a judicial proceeding, and gave perjurious

 testimony,” (ECF No. 277, at 28) simply because these particular forgeries were a needle buried in

 a haystack. To ensure there is no prejudice to defense counsel, plaintiffs will produce a

 Supplemental Report no later than September 24th, and make Dr. Edman available for deposition

 no later than October 8th.

        Defendant’s response: Defendant objects to any supplement to plaintiffs’ expert report at

 this late stage and also objects to the characterizations on which plaintiffs purport to justify this

 request.


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                                                      Respectfully submitted,


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                                  CERTIFICATE OF SERVICE

         I CERTIFY that on September 10, 2021, I electronically filed this document with the Clerk
 of the Court using CM/ECF. I also certify that the foregoing document is being served this day on all
 counsel of record via transmission of Notices of Electronic Filing generated by CM/ECF.

                                                      /s/ Amanda McGovern
